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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

 CHRISTY GRIFFITH, individually and on                     Case No.: 1:16-cv-02900
 behalf of all others similarly situated,                  Honorable Elaine E. Bucklo
                                Plaintiff,
        v.

 CONTEXTMEDIA HEALTH, LLC d/b/a
 OUTCOME HEALTH

                                Defendant.


 PLAINTIFF’S UNOPPOSED MOTION FOR FINAL APPROVAL OF CLASS ACTION
                  SETTLEMENT AND MEMORANDUM
       Plaintiff Christy Griffith, for the reasons set forth in the accompanying memorandum and

attached exhibits, hereby moves this Honorable Court for an Order 1) approving the proposed

Settlement; 2) certifying the proposed Class; 3) appointing Plaintiff’s attorney Jeremy M.

Glapion of Glapion Law Firm and Kristen Law Sagafi and Andrew Silver of Tycko & Zavareei

LLP as Class Counsel; and 4) as set forth in Plaintiff’s Fee Petition [Dkt. 106], awarding

attorneys’ fees, costs, and a class representative service award.


 Dated: November 1, 2018                           /s/ Andrew J. Silver__________
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     I.   INTRODUCTION

          Plaintiff Christy Griffith (“Plaintiff” or “Griffith”) respectfully moves the Court for final

approval of a class action settlement (“Settlement” or “Settlement Agreement,” see Exhibit A)

reached with Defendant ContextMedia Health, LLC d/b/a Outcome Health (“Defendant” or

“Outcome Health”). As discussed in more detail below, Plaintiff alleges, on behalf of herself and

a class of similarly situated persons, that Defendant sent autodialed text messages to individuals

after those individuals had opted out, in violation of the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227(b). The proposed Settlement resolves all class claims in this matter.
          Under the Settlement, Defendant is required to pay or cause to be paid $2,900,000 into a

Settlement Fund 1 for a class of approximately 2,239 phone numbers who were sent 128,193 text

messages after having opted out. 2 Eligible claimants will receive a pro rata per-text payment from

this Settlement Fund. Following the notice and claims period, a robust 10.6 percent of class

members filed claims for payment. Further, no class members objected to the settlement, nor did

any exclude themselves. After estimated administrative costs and requested attorneys’ fees, costs,

and service award [see Dkt. 106], and pending claim verification, their claims will result in

payment of approximately $128.66 per text message to class members who filed claims, for an

average payment of $7,487.62 per class member. No money will revert to Defendant. Furthermore,

as of March 2016, Defendant stopped its text messaging program at issue and has not resumed it.

    II.   BACKGROUND

          Plaintiff outlined the history of this case in her Motion for Preliminary Approval [Dkt. 101-

1 at 1-4] and incorporates that discussion herein. On April 4, 2018, the Court preliminarily

approved of the Settlement; ordered that Notice be sent; set deadlines for claims, objections, and

exclusions; and set this matter for a Fairness Hearing on November 16, 2018. [Dkt. 105.]



1
  Unless otherwise specified, capitalized terms carry with them the same definitions contained in
the Settlement Agreement. [See Exhibit A.]
2
  As discussed herein, a total of 2,285 individuals received text messages, as certain phone numbers
had multiple owners during the class period.
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III.    THE SETTLEMENT

        The relevant details of the Settlement are set forth herein.

           a. Defined Class

        The proposed Settlement Class 3 is defined as follows:
        [A]ll persons within the United States to whose cellular telephone number
        Defendant ContextMedia Health, LLC sent, or caused to be sent, a text message,
        other than an opt-out confirmation text message, as part of its “Healthy Tips”
        campaign, after Defendant’s records or the records of any entity with whom
        Defendant contracted to provide text messaging services indicate that the telephone
        number to which the text messages were sent had previously sent a text message
        with the single word “STOP” or the single phrase “STOP CMH TIPS,” regardless
        of capitalization.
Settlement Agreement § 2.29. The Class consists of approximately 2,239 phone numbers which

were sent 128,293 text messages. [Dkt. 101-1 at 4.] 2,285 total individuals were potentially

affected, as certain of the telephone numbers were owned by multiple individuals during the class

period. See Declaration of Rachel McCown (“McCown Decl.”) ¶ 9.
           b. Monetary Relief

        The Settlement Agreement requires Defendant to create a non-reversionary fund of

$2,900,000, which Defendant has funded in accordance with the Settlement Agreement.

Settlement Agreement § 4.02. This fund will be used to provide cash awards to eligible claimants

who file an approved claim, as well as cover all administrative costs and attorneys’ fees and costs,

as fully set forth in the Settlement Agreement. Id. Each claimant who filed an Approved Claim

will receive a pro rata per-text amount based on the number of text messages sent to a claimant

after he or she opted out of receiving text messages. Id. § 4.04. To submit a claim, members of the

Class needed to fill out and submit a claim form, which could be done either electronically through


3
 Excluded from the Settlement Classes are: (1) the Judges presiding over the Actions and members
of their families; (2) the Defendant, its subsidiaries, parent companies, successors, predecessors,
and any entity in which the Defendant or its parents have a controlling interest and their current or
former officers, directors, and employees; (3) Persons who properly execute and file a timely
request for exclusion from the Settlement Class; (4) all Persons whose claims against the
Defendant have been fully and finally adjudicated and/or released; and (5) the legal
representatives, successors or assigns of any such excluded Persons.
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the Settlement Website or via U.S. mail, including through a postage-paid claims form that was

included with the notice. Id. § 9.02. Checks will be mailed to those submitting Approved Claims

within thirty (30) days of the Effective Date. Id. § 9.03. These checks will be valid for 180 days.

Id. After a robust notice program—see Section III.h, infra—231 Class Members, or 10.6% of the

Class, filed valid claims on the Settlement Fund, comprising claims on 13,444 or 10.5% of all text

messages. See McCown Decl. ¶ 22. After deducting estimated fees, costs, and Plaintiff’s incentive

award, Class Members will receive an award of approximately $128.66 per text message, or an

average payment of $7,487.62 per Class Member. The class member that received the highest
number of text messages (270) [see Dkt. 101-1 at 1 n.2] will receive approximately $34,736.89.

No class members either objected to or excluded themselves from the Class. McCown Decl. ¶ 24.

           c. Redistribution and Cy Pres

       Should checks remain uncashed after 210 days of the first distribution with an amount

exceeding $1.00 per claimed text message or more, this remaining amount will be distributed,

based on pro rata distribution, to those who previously filed an Approved Claim and cashed their

checks. Settlement Agreement § 7.03. In the event the amount uncashed is less than $1.00 per

claimed text message, the parties have agreed to propose a mutually agreeable cy pres recipient,

the American Diabetes Association, to the Court. Id. No amount will revert to Defendant under

any circumstances. Id.

           d. Prospective Relief

       Though not a direct condition of the Settlement, Defendant ceased the “Healthy Tips”

program as of March 2016 and such program has not been resumed. Defendant also agreed to

withdraw a petition it filed with the FCC for an exemption from liability in this case, and Defendant

has withdrawn that petition. Settlement Agreement, § 13.05.

           e. Release

       Upon the Effective Date, members of the Settlement Classes who do not opt out will have

released all Released Claims against each and every one of the Released Parties. Id. § 13.04.

Plaintiff and Settlement Class members further agree not to sue any of the Released Parties with

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respect to any of the Released Claims, and agree to be forever barred from doing so in any court

of law or equity, arbitration proceeding, or any other forum. Id. However, nothing in the Settlement

Agreement is intended to restrict any Settlement Class Member from contacting, assisting or

cooperating with any government agency. Id.

           f. Service Award

       The Settlement reflects that Plaintiff Griffith will seek a $10,000 service award. Id. § 5.04.

This award will be paid out of the Settlement Fund. Id. This award is subject to this Court’s

approval, and the Settlement is not conditioned on the requested service award (or any service

award) being granted. Id. As more fully set forth in Plaintiff’s Motion for Attorneys’ Fees, Costs,

and Service Award (“Fee Petition”) [Dkt. 106], the award is warranted. Fee Petition at 15.
           g. Attorneys’ Fees and Costs

       On July 13, 2018, as set forth in the Settlement (see § 5.02), Class Counsel applied for an

award of attorneys’ fees and costs. See Fee Petition. Class Counsel sought $966,666.67 in fees, or

one-third of the Fund (35.52% after costs and the requested service award). As discussed in the

Fee Petition, this amount is in line with Seventh Circuit precedent and appropriate to compensate

Class Counsel for achieving the relief described herein. Id. at 5-14. Class Counsel also sought

$68,910.73 in costs. Id. at 14-15. The Settlement is not contingent upon the Court’s approval of

attorneys’ fees or costs, and the notice to class members informed Class Members that Class

Counsel intended to seek up to $966,666.67 and their costs. [Dkt. 101-2 at 52.]

           h. Administration and Notice

       The Claims Administrator is Epiq Class Action & Claims Solutions, Inc. (“Epiq”). All

costs of notice and administration shall be paid from the Settlement Fund. Id. § 2.17. The Claims

Administrator is responsible for administering the Settlement, which includes, but is not limited

to, performing lookups to ascertain the identities of certain members of the Class, processing

claims, disseminating notice, maintaining records, providing reports to Class Counsel and

Defendant’s counsel, creating the settlement website, establishing and maintaining the toll-free

telephone number, and issuing all settlement payments contemplated herein.

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       To identify Class Members, Class Counsel issued subpoenas to Verizon, T-Mobile, AT&T,

and Sprint for subscriber information. These subpoenas covered approximately 96% of Class

Members. For those whose information was not provided in response to one of these subpoenas –

either due to state laws or due to being a customer of a different carrier than one of those mentioned

above – the Administrator engaged a third-party (PacificEast) to perform a reverse lookup to

identify the owner of the telephone number during the time of the text messages. McCown Decl.

¶ 9; Settlement Agreement, § 8.02.

       On June 29, 2018, Epiq sent mailed notice, with a prepaid claim form, to 2,156 Class
Members for whom it was able to obtain addresses or, in other words, 94.3% of all Class Members.

McCown Decl. ¶ 11. In the week ending September 28, 2018, Epiq mailed reminder postcard

notices to all Class Members to whom the initial mailing did not result in a returned postcard. Id.

¶ 13. In total, from both mailed notices, only 63 addresses were determined to be undeliverable.

Id. ¶ 15. Thus, Epiq was able to directly reach over 97.1% of the class members to whom it

attempted mailed notice or, in other words, a deliverable rate of 94.3% of the Settlement Class. Id.

       Class Members were also notified via Facebook ads, targeted to Class Members using their

phone numbers. Id. ¶ 16. Approximately 69,127 impressions were generated by the Facebook

advertising. Id. This equates to over 30 impressions per affected phone number. There is also a

settlement website providing a downloadable claim form (included in Exhibit A to the Settlement

Agreement), the long form notice (included in Exhibit B to the Settlement Agreement), important

case documents, important case deadlines, and on which Class Members can file an electronic

claim. Settlement Agreement, § 8.04; see https://www.healthytipstcpasettlement.com/. The

settlement website received 2,639 page hits from 514 unique visitors, and a toll-free number

operated by Epiq received 80 calls, and Epiq placed additional outgoing calls in response to

inquiries from Class Members. McCown Decl. ¶¶ 17-20.

       In short, Epiq reached the overwhelming majority of Class Members via mailed notice,

which it supplemented with targeted Facebook notice. The robust claims rate and the website and

toll-free engagement—as compared to the class size—reflects a successful notice program.

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IV.    DISCUSSION

           a. Legal Standard for Approval

       “A district court may approve a settlement only if it is ‘fair, reasonable, and adequate.’”

Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 652 (7th Cir. 2006) (“Synfuel”).

When the proposed settlement “is the product of arm’s length negotiations, sufficient discovery

has been taken to allow the parties and the court to act intelligently, and counsel involved are

competent and experienced”, there is a general presumption of fairness. H. Newberg, A. Conte,

Newberg on Class Actions, § 11.41 (4th ed. 2002); Boggess v. Hogan, 410 F. Supp. 433, 438 (N.D.

Ill. 1975). Nevertheless, even where there have been arm’s-length negotiations, courts must

scrutinize the fairness, reasonableness, and adequacy of the proposed settlement. Specifically, “a

district court must consider ‘the strength of plaintiffs' case compared to the amount of defendants'

settlement offer, an assessment of the likely complexity, length and expense of the litigation, an

evaluation of the amount of opposition to settlement among affected parties, the opinion of

competent counsel, and the stage of the proceedings and the amount of discovery completed at the

time of settlement.’” Synfuel, 463 F.3d at 653. (quoting Isby v. Bayh, 75 F.3d 1191, 1199 (7th Cir.

1996)); see also In re AT&T Mobility Wireless Data Servs. Sales Tax Litig., 789 F. Supp. 2d 935,

958 (N.D. Ill. 2011) (listing same factors). The first factor – the strength of the plaintiff’s case

balanced against the amount offered in the settlement – is the most important. Synfuel, 463 F.3d at

653. These factors should be considered in the light most favorable to the settlement. Isby, 75 F.3d

at 1199; Douglas v. Western Union Co., No. 14 C 1741, ___ F. Supp. 3d ____, 2018 WL 4181484,

at *5 (N.D. Ill. Aug. 31, 2018) (same) (quoting Isby).

           b. The Settlement is the Product of Arm’s Length Negotiations.

       The Settlement herein was reached after nearly two years of litigation, extensive discovery,

several dispositive motions, and an all-day mediation before Judge Holderman, followed by more

investigation, discussion, and negotiation. Class Counsel investigated and developed this case

through discovery, multiple depositions, and expert discovery, ultimately obtaining a sufficient

record to certify the class and, Class Counsel believes, win on the merits.

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        Throughout, the Parties were in strong disagreement on every aspect of this case, and these

disagreements were expressed at a lengthy and often frustrating mediation in October 2017.

Indeed, the mediation did not immediately resolve the Parties’ differences, and it took three more

months of litigation and discussion to resolve. The Settlement was not reached until February

2018, a month after the Court granted class certification. [Dkt. 92.] The Settlement was thus

reached after arm’s-length negotiations, and there was no collusion. Courts are entitled to rely on

the opinion of competent counsel, especially where counsel are qualified, discovery has taken

place, and the settlement is the product of arms-length negotiations. See Isby, 75 F.3d at 1200;
Hispanics United v. Vill. of Addison, 988 F. Supp. 1130, 1150 n. 6 (N.D. Ill. 1997) (noting a “strong

initial presumption of fairness attaches” where settlement is “the result of arm’s length

negotiations,” and where counsel are “experienced and have engaged in adequate discovery”).

            c. The Settlement is Well Within the “Range of Reasonableness.”
                       i. The Settlement Provides Substantial Relief in Light of the Risks of
                          Continued Litigation.
        “The most important factor relevant to the fairness of a class action settlement is the first

one listed: the strength of plaintiff’s case on the merits balanced against the amount offered in the

settlement.” In re AT&T, 789 F. Supp. 2d at 958 (quoting Synfuel, 463 F.3d at 653) (internal

quotations omitted). The strength of a plaintiff’s case can be quantified by comparing “the net

expected value of continued litigation to the class” to the “range of possible outcomes and
ascrib[ing] a probability to each point on the range.” Am. Int’l Grp., Inc. v. ACE INA Holdings,

Inc., No. 07 CV 2898, 09 C 2026, 2012 WL 651727, at *2 (N.D. Ill. Feb. 28, 2012) (quoting

Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 284–85 (7th Cir. 2002) and Synfuel, 463 F.3d at

653); see also Eubank et al. v. Pella Corp. et al., 753 F.3d 718, 727 (7th Cir. 2014) (holding that

the district court should “estimate the likely outcome of a trial . . . in order to evaluate the adequacy

of the settlement”).

        However, “[t]he Seventh Circuit has recognized that valuing hypothetical continued

litigation is necessarily speculative and therefore an inexact science,” and courts need only


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“estimate and come to a ballpark valuation” of the class’s claims. Kolinek v. Walgreen Co., 311

F.R.D. 483, 503 (N.D. Ill. 2015) (citation and internal quotations omitted); In re Southwest Airlines

Voucher Litig., No. 11-cv-8176, 2013 WL 4510197, at *7 (N.D. Ill. Aug. 26, 2013) (“In

considering the strength of plaintiffs’ case, legal uncertainties at the time of settlement favor

approval.”). Ultimately, since a settlement is a compromise, “courts need not—and indeed should

not—‘reject a settlement solely because it does not provide a complete victory to the plaintiffs.’”

In re Capital One Telephone Consumer Protection Act Litig., 80 F. Supp. 3d 781, 790 (N.D. Ill.

2015) (quoting In re AT&T, 270 F.R.D. at 347). Parties to a settlement “benefit by immediately
resolving the litigation and receiving some measure of vindication for [their] position[s] while

foregoing the opportunity to achieve an unmitigated victory.” In re AT&T, 270 F.R.D. at 347.

       Here, although Plaintiff believes her TCPA claims against Defendant are strong, she

recognizes that Outcome Health’s liability was far from certain. Plaintiff undertook this litigation

knowing that she would face staunch opposition from a Defendant with substantial resources,

strong legal defenses, and a willingness to litigate. Plaintiff nonetheless successfully obtained a

large, non-reversionary $2.9 million Settlement Fund, which will result in large per-text and total

payments to all Class Members making a claim on the Settlement Fund.
                           1. Settlement Benefits
       The Settlement requires Outcome Health to pay $2,900,000, which has already been

funded, from which approved claims will be paid pro rata per-text, after fees and costs. Settlement

Agreement § 4.04. Based on the claims made, each claimant will receive approximately $128.66

per text, for a total average payment of $7,487.62 per claimant. See Section II.b, supra. This is an

exceptional result for three main reasons.

       First, it significantly exceeds the award in many other approved TCPA class action

settlements. Just recently, a court in this District granted final approval to a TCPA class settlement

in which each claimant would be paid $89 total on a 6.9% claims rate. Ossola et al. v. American

Express Company, et al., Case No. 13-cv-4836 (N.D. Ill.) (Dkt. 368.). Here, the Settlement is

paying each claimant approximately $128.66 per text; in other words, claimants are receiving more

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money for each text message received than the claimants in Ossola received total. And since the

median number of post-“STOP” text messages sent to Class Members here was 49, a significant

portion of claimants stand to receive orders of magnitude more than the Ossola claimants. The

Settlement here also meets or exceeds the relief in other TCPA settlements. See, e.g., Wright v.

Nationstar Mortg. LLC, No. 14 C 10457, 2016 WL 4505169 (N.D. Ill. Aug. 29, 2016) (finally

approving settlement of $12.1 million for a class of 2.3 million people, where each claimant would

receive $45); Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215 (N.D. Ill. 2016) (approving

settlement that paid $52.50 to each claimant). 4

        Second, while the Settlement does not provide full statutory relief, this “does not, in and

of itself, mean that the proposed settlement is grossly inadequate and should be disapproved.” City

of Detroit v. Grinnell, 495 F.2d 448, 455 n.2 (2d Cir. 1974). This is particularly true here. While

47 U.S.C. § 227(b) mandates a minimum of $500 per call or text in violation of the statute, which

would amount to $64 million here, such a judgment would be worth nothing if it could not be

collected, as was (and remains) possible in this case. 5 It was also possible that Defendant would
prevail on its pending request for exemption from the FCC on the basis that these unwanted text

messages were allegedly caused by a technical glitch, Dkt. 101-3 ¶ 10, which was only withdrawn

as a result of the Settlement. Settlement Agreement, § 13.05.



4
  See also, e.g., Malta v. Fed. Home Loan Mortg. Corp., No. 10-cv-1290 BEN (NLS), 2013 WL
444619 (S.D. Cal. Feb. 5, 2013) (preliminarily approving $17.1 million settlement to 5,887,508
class members; final approval granted at Dkt. No. 91); Capital One, 80 F. Supp. 3d at 790
(providing $34.60 per claiming class member); Arthur v. Sallie Mae, Inc., No. C10-0198JLR, 2012
WL 90101, at *3 (W.D. Wash. Jan. 10, 2012) (approving settlement where class members could
receive between $20 and $40); Kazemi v. Payless Shoesource, Inc., No. 3:09-cv-05142, Dkt. 94
(N.D. Cal. Apr. 2, 2012) (providing $25 voucher to each class member); In re Jiffy Lube Int’l, Inc.
Text Spam Litig., No. 3:11-MD-02261, Dkt. 97 (S.D. Cal. Feb. 20, 2013) (providing a $20 voucher,
which could be redeemed for $15 cash after nine-month waiting period).
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  At the time of the Settlement, there were questions about the size of a judgment Outcome Health
could withstand. [Dkt. 101-3 ¶ 9.] Since then, its founder and another member of company
leadership left the board. See Ally Marotti, Outcome Health's former leaders step down from
board, Chicago Tribune (June 21, 2018), available at http://www.chicagotribune.com/business/ct-
biz-outcome-health-leaders-off-board-20180621-story.html.
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       Third, this Settlement allows for relief much sooner than would come in its absence. If the

Settlement was not approved, trial would be months away at best, and even if Plaintiff prevailed

at trial, subsequent appeals would add years. Guaranteeing a sizable Settlement to the Class now

far outweighs the potential benefit of proceeding to trial and verdict. Dkt. 101-3 ¶ 9.

       With these factors considered, $2,900,000 is more than fair, reasonable, and adequate.
                           2. Strength of Plaintiff’s Case
       While liability would be disputed, Plaintiff continues to believe in the strength of her case.

She has prevailed on every merits-related motion to date and has successfully certified a class.

Plaintiff’s expert report is strong, and, barring a change in the law, Plaintiff has a clear (although

not guaranteed) path to showing Defendant’s liability for statutory damages under the TCPA.

       Liability, however, is only part of the equation. There is little value in a judgment that

cannot be collected due to the finances of Defendant. There is real question about Defendant’s

ability to pay a judgment of $64 million, and it appears, by all accounts, that collecting such a

judgment would be unlikely. See supra note 5. The Settlement amount strikes a balance between

providing genuine relief for Class Members and the risks of nonpayment (either due to a loss on

the merits or Defendant’s viability) due to continued litigation. [Dkt. 101-3 ¶¶ 9-13.] In addition,

as mentioned, Defendant filed a request for exemption from the FCC, which was subsequently

supported by numerous well-connected interested parties, including the American Bankers

Association and the U.S. Chamber Institute for Legal Reform. Defendant withdrew this petition as

a result of the Settlement, but it would have presented a risk had litigation continued.
                   ii. Continued Litigation is Not in the Best Interests of Plaintiff or
                       Members of the Class.
       As discussed, because of concerns about Defendant’s ability to pay, as well as uncertainties

in the TCPA legal landscape, it is a genuine possibility that, no matter how strong Plaintiff’s claims

look now, when all is said and done, Class Members would recover little, if anything. The

Settlement allows for definite relief and, all things considered, will increase the likelihood of

recovery relative to continued litigation. See Schulte v. Fifth Third Bank, 805 F. Supp. 2d 560, 586


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(N.D. Ill. 2011) (“Settlement allows the class to avoid the inherent risk, complexity, time, and cost

associated with continued litigation.”); In re Mexico Money Transfer Litig., 164 F. Supp. 2d 1002,

1019 (N.D. Ill. 2000) (finding that settlement is favored where “continued litigation would require

resolution of complex issues at considerable expense and would absorb many days of trial time.”).

       The Parties would therefore incur significant additional expenses if the Settlement is not

approved, including the costs of further discovery, additional expert witness costs, filing and

defending more pre-trial motions, and the enormous expenses involved in conducting a class action

trial, requiring evidence and witnesses from across the country to be convened. If anything, “this
drawn-out, complex, and costly litigation process . . . would provide [Settlement] Class Members

with either no in-court recovery or some recovery many years from now . . . .” In re AT&T, 789 F.

Supp. 2d at 964. The Settlement, by contrast, avoids the uncertainty of trial—and potentially

lengthy appeals—and instead provides valuable relief to the Settlement Class Members now.

Therefore, the second Synfuel factor also weighs in favor of final approval.
                  iii. Opposition to the Settlement.
       As discussed above, after a robust notice program, no Class Members either objected to or

excluded themselves from the Settlement. See Section II.b, supra. Thus, there is literally no

opposition to the Settlement. Courts routinely approve settlements even where objectors are

present, or if many class members have opted out. E.g., In re Mexico Money Transfer Litig., 164

F. Supp. 2d at 1020–21 (finding that where “99.9% of class members have neither opted out nor

filed objections . . . is strong circumstantial evidence in favor of the settlements”); In re AT&T,

789 F. Supp. 2d at 965 (finding that exclusion or objection rate of 0.01% of class members was

“remarkably low” and supported settlement approval). Since nobody objected or excluded

themselves, this Synfuel factor could not weigh more heavily in favor of approval.
                  iv. Opinion of Counsel.
       Class Counsel strongly believes this Settlement is not only fair, but exceptional. As set

forth above, eligible claimants will receive more per text what many TCPA class settlements pay

per member. And many Class Members will see payments north of $1,000. Cumulatively, Class

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Counsel have litigated dozens of TCPA cases, have extensively studied and reviewed the TCPA

class action landscape as part of their practice, and have litigated this particular case through

discovery and motion practice. Dkt. 101-3 ¶¶ 14-22. This enables Class Counsel to effectively

evaluate the Settlement. See, e.g. In re Mexico Money Transfer Litig., 164 F. Supp. 2d at 1020

giving significant weight to “the unanimously strong endorsement” by “well-respected

attorneys.”). Thus, this Synfuel factor strongly supports approval.
                   v. Stage of the Proceedings and Amount of Discovery Completed.
       The final Synfuel factor—the stage of the proceedings and amount of discovery completed

at the time of the settlement—also supports final approval. 463 F.3d at 653. This factor generally
favors approval of a settlement where “discovery and investigation conducted by class counsel

prior to entering into settlement negotiations was extensive and thorough.” Isby, 75 F.3d at 1200

(citation and internal quotations omitted). However, courts also regularly approve settlements

achieved prior to the commencement of formal discovery, especially where counsel “have

conducted a significant amount of informal discovery and dedicated a significant amount of time

and resources to advancing the underlying lawsuits.” In re AT&T, 270 F.R.D. at 350.

       As mentioned, Class Counsel took four depositions—two depositions pursuant to Rule

30(b)(6), and two depositions of third-parties (one of Defendant’s former employees and

Defendant’s text messaging provider). Defendant served written discovery and deposed Plaintiff

Griffith. Plaintiff also served three sets of requests for production and two sets of interrogatories

and requests for admission. Furthermore, Plaintiff hired an expert, Mr. Dave Thomas, who

reviewed Defendant’s text messaging software at a code level and provided a detailed report as to

the application’s capabilities. [See Dkt. 101-3 ¶¶ 2-4.]

       There has also been significant, meaningful, and dispositive motion practice. Plaintiff

successfully opposed Defendant’s Motion to Dismiss, and, on January 11, 2018, successfully

certified her proposed class. A different result on either motion would have effectively ended this

case. Accordingly, the final Synfuel factor, like the four others, weighs in favor of final approval

and supports a finding that the Settlement is fair, reasonable, and adequate.

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           d. Final Certification of the Settlement Class is Appropriate.

       As the Court has already certified a virtually identical class, Plaintiff will not repeat the

arguments made in favor of Class Certification here, and instead relies on Plaintiff’s briefing in

support of class certification, docket entries 60 and 82. The only difference between the Settlement

Class definition and the certified class definition is the removal of the date restriction, so as to

compensate any individuals who potentially received actionable text messages outside of the class

period. However, based on discovery conducted to date and Defendant’s representations upon

agreeing to the Settlement, this change did not impact the class size or scope in any way.
           e. The Notice Program Satisfied Due Process.

       When a class is certified through settlement, due process and Rule 23 require that the court

“direct notice in a reasonable manner to all class members who would be bound by the proposal.”

Fed. R. Civ. P. 23 (e)(1); In re Sears, Roebuck & Co. Front-loading Washer Prod. Liab. Litig.,

No. 06 C 7023, 2016 WL 772785, at *7 (N.D. Ill. Feb. 29, 2016). Where, as here, a class is certified

under Rule 23(b)(3), “the court must direct to class members the best notice that is practicable

under the circumstances, including individual notice to all members who can be identified through

reasonable effort.” Fed. R. Civ. P. 23(c)( 2)(B); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173

(1974) (“[i]ndividual notice must be sent to all class members whose names and addresses may be

ascertained through reasonable effort”). The class notices must state in plain, easily understood

language the details of the settlement, including the nature of the case, the class definition(s), the

claims, and class members’ rights. Fed. R. Civ. P. 23(c)(2)(B)(i)–(vii); In re AT&T Mobility

Wireless Data Servs. Sales Litig., 270 F.R.D. 330, 350-51 (N.D. Ill. 2010).

       The requirement of the “best notice that is practicable” does not mandate that every

individual class member must receive direct notice. See Burns v. Elrod, 757 F.2d 151, 154 (7th

Cir. 1985) (noting that “Rule 23 does not require defendants to exhaust every conceivable method

of identification”); CE Design v. Beaty Const., Inc., No. 07 C 3340, 2009 WL 192481, at *10 (N.D.

Ill. Jan. 26, 2009) (“The Federal Rules [] require the best notice that is ‘practicable’



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not perfect notice. The word ‘practicable’ implies that the plaintiff should be afforded some

flexibility with respect to providing notice to unknown, potential class members.”).

       In this case, the notice plan implemented following preliminary approval satisfies the

requirements of due process and Rule 23. Indeed, prior to preliminary approval, Class Counsel

issued subpoenas targeting mailing addresses associated with Class Members’ telephone numbers,

which covered 96% of all class members. [Dkt. 101-1 at 15-16.] Epiq performed reverse lookups

for the remaining class members, and, together with addresses obtained from the cell phone

carriers, was able to attempt mailed notice for 2,156 out of 2,285 potential settlement class
members (the 2,285 number is greater than the 2,239 phone numbers affected because some phone

numbers had multiple owners during the class period). McCown Decl., ¶ 9. Ultimately, after

accounting for returned mail, Epiq reached over 94.3% of Class Members by direct mail. Id. ¶¶

15. And Epiq’s notice was even more fulsome than initially contemplated, as an additional round

of reminder postcards were mailed. Id. ¶ 13. Epiq supplemented the mailed notice with Facebook

advertising targeting all of the cell phone numbers belonging to Class Members, accounting for

approximately 69,127 banner impressions. Id. ¶ 16.

       The notices contained the information required under Rule 23(c)(2)(B) and invited

recipients to visit the Settlement Website or call a toll-free number where they could obtain more

information and get answers to frequently asked questions. Id. ¶ 11 and Attachment B.

Additionally, the notices informed the Settlement Class Members of their right to object or exclude

themselves from the Settlement, as required by Rule 23(e)(4). Id. Class Members were able to file

a claim via (i) a pre-paid detachable post-card included with the mailed notice, via a claim form

that can be requested through the website or from the administrator, or (ii) directly through the

Settlement website. Id. ¶¶ 11, 17 and Attachment B.

       Thus, because the Settlement’s multi-part Notice Plan included direct notice to all

Settlement Class Members who could be reasonably identified using Defendant’s records and fully

apprised Settlement Class Members of their rights, it satisfied the requirements of due process and

Rule 23. See also Section III.h, supra.

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 V.      CONCLUSION

         Plaintiff respectfully requests that the Court 1) approve the proposed Settlement; 2) certify

the proposed Class; 3) appoint Plaintiff’s attorneys Jeremy M. Glapion of Glapion Law Firm and

Kristen Law Sagafi and Andrew Silver of Tycko & Zavareei LLP as Class Counsel; and 4) as set

forth in Plaintiff’s Fee Petition, award attorneys’ fees, costs, and a class representative service

award.

 Dated: November 1, 2018                            /s/ Andrew J. Silver__________
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